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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   GARRY WAYNE DUNN                                                CASE NO. 20-10409
   322 EAST HARRIS PLACE APT C                                     JUDGE BENJAMIN A. KAHN
   EDEN, NC 27288

               DEBTOR

   SSN(1) XXX-XX-5468                                              DATE: 01/15/2021


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
ABSOLUTE COLLECTION SVC                                            $0.00    (U) UNSECURED
421 FAYETTEVILLE ST STE 600                                   INT: .00%     NOT FILED
RALEIGH, NC 27601                                        NAME ID: 59368     ACCT:
                                                          CLAIM #: 0005     COMMENT:
ASHLEY FUNDING SERVICES LLC                                       $20.00    (U) UNSECURED
% RESURGENT CAPITAL SERVICES                                  INT: .00%
P O BOX 10587                                            NAME ID: 43468     ACCT: 8880
GREENVILLE, SC 29603-0587                                 CLAIM #: 0011     COMMENT:
ASHLEY FUNDING SERVICES LLC                                        $5.00    (U) UNSECURED
% RESURGENT CAPITAL SERVICES                                  INT: .00%
P O BOX 10587                                            NAME ID: 43468     ACCT: 4850
GREENVILLE, SC 29603-0587                                 CLAIM #: 0019     COMMENT:
ASHLEY FUNDING SERVICES LLC                                       $20.00    (U) UNSECURED
% RESURGENT CAPITAL SERVICES                                  INT: .00%
P O BOX 10587                                            NAME ID: 43468     ACCT: 4410
GREENVILLE, SC 29603-0587                                 CLAIM #: 0020     COMMENT:
ASHLEY FUNDING SERVICES LLC                                        $5.00    (U) UNSECURED
% RESURGENT CAPITAL SERVICES                                  INT: .00%
P O BOX 10587                                            NAME ID: 43468     ACCT: 2820
GREENVILLE, SC 29603-0587                                 CLAIM #: 0021     COMMENT:
ASHLEY FUNDING SERVICES LLC                                        $5.00    (U) UNSECURED
% RESURGENT CAPITAL SERVICES                                  INT: .00%
P O BOX 10587                                            NAME ID: 43468     ACCT: 9300
GREENVILLE, SC 29603-0587                                 CLAIM #: 0022     COMMENT:
CAPITAL ONE BANK USA NA                                        $806.49      (U) UNSECURED
% AMERICAN INFOSOURCE LP                                     INT: .00%
P O BOX 71083                                          NAME ID: 116268      ACCT: 2904
CHARLOTTE, NC 28272                                      CLAIM #: 0006      COMMENT:
CONE HEALTH                                                       $0.00     (U) UNSECURED
1200 N ELM ST                                                INT: .00%      NOT FILED
GREENSBORO, NC 27401                                   NAME ID: 137686      ACCT:
                                                         CLAIM #: 0008      COMMENT:
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NAME & ADDRESS OF CREDITOR                            AMOUNT      CLASSIFICATION
FIRST POINT RESOURCES                                   $0.00     (U) UNSECURED
P O BOX 26140                                      INT: .00%      NOT FILED
GREENSBORO, NC 27402                          NAME ID: 38570      ACCT:
                                               CLAIM #: 0010      COMMENT:
INTERNAL REVENUE SERVICE                                $0.00     (P) PRIORITY
P O BOX 7346                                       INT: .00%      NOT FILED
PHILADELPHIA, PA 19101-7346                  NAME ID: 123770      ACCT: 5468
                                               CLAIM #: 0001      COMMENT:
LENDMARK FINANCIAL SERVICES LLC                     $5,493.45     (U) UNSECURED
2118 USHER ST                                      INT: .00%
COVINGTON, GA 30014                          NAME ID: 157722      ACCT: 1639
                                               CLAIM #: 0012      COMMENT:
MARINER FINANCE                                         $0.00     (U) UNSECURED
1421 FREEWAY DR                                    INT: .00%      NOT FILED
REIDSVILLE, NC 27320                         NAME ID: 150022      ACCT:
                                               CLAIM #: 0013      COMMENT:
MEDICARE ADVANTAGE                                      $0.00     (U) UNSECURED
P O BOX 30769                                      INT: .00%      NOT FILED
SALT LAKE CITY, UT 84130                     NAME ID: 182095      ACCT:
                                               CLAIM #: 0014      COMMENT:
MIDLAND CREDIT MANAGEMENT INC                       $1,005.35     (U) UNSECURED
P O BOX 2037                                       INT: .00%
WARREN, MI 48090                             NAME ID: 177774      ACCT: 6927
                                               CLAIM #: 0009      COMMENT:
N C DEPARTMENT OF REVENUE                                 $0.00   (P) PRIORITY
BANKRUPTCY UNIT                                      INT: .00%    NOT FILED
P O BOX 1168                                     NAME ID: 9699    ACCT: 5468
RALEIGH, NC 27602-1168                           CLAIM #: 0002    COMMENT:
QUANTUM3 GROUP LLC AS AGENT FOR                     $1,156.47     (U) UNSECURED
MOMA TRUST LLC                                     INT: .00%
P O BOX 788                                  NAME ID: 182454      ACCT: 1464
KIRKLAND, WA 98083-0788                        CLAIM #: 0007      COMMENT: KAY JEWELERS
ROCKINGHAM COUNTY TAX                                   $0.00     (P) PRIORITY
371 NC HIGHWAY 65 STE 107                          INT: .00%      NOT FILED
WENTWORTH, NC 27375                          NAME ID: 159712      ACCT:
                                               CLAIM #: 0003      COMMENT:
ROYALTY FINANCE                                         $0.00     (U) UNSECURED
P O BOX 916                                        INT: .00%      NOT FILED
EDENTON, NC 27932                            NAME ID: 141595      ACCT:
                                               CLAIM #: 0015      COMMENT:
SCHEWEL FURNITURE COMPANY INC                       $1,932.00     (S) SECURED
P O BOX 6120                                      INT: 6.25%
LYNCHBURG, VA 24505-6120                     NAME ID: 134051      ACCT: 6689
                                               CLAIM #: 0004      COMMENT: OC,PP
UNC ROCKINGHAM HEALTH CARE                             $71.28     (U) UNSECURED
117 E KINGS HWY                                    INT: .00%
EDEN, NC 27288                               NAME ID: 169463      ACCT: 5442
                                               CLAIM #: 0016      COMMENT:
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NAME & ADDRESS OF CREDITOR                          AMOUNT       CLASSIFICATION
VIRGINIA FINANCE LLC                                $1,040.24    (U) UNSECURED
625 PINEY FOREST RD STE 203B                       INT: .00%
DANVILLE, VA 24540                           NAME ID: 177371     ACCT: 4426
                                               CLAIM #: 0017     COMMENT:
WANDA CRAIG                                             $0.00    (U) UNSECURED
220 STRUTTON LANE                                  INT: .00%     NOT FILED
EDEN, NC 27288                               NAME ID: 182096     ACCT:
                                               CLAIM #: 0018     COMMENT:

TOTAL:                                              $11,560.28
JOHN T ORCUTT ESQ                                   $2,500.00    ATTORNEY FEE
6616-203 SIX FORKS ROAD
RALEIGH, NC 27615




                                                                 ANITA JO KINLAW TROXLER,
                                                                 TRUSTEE
                                                                 500 W FRIENDLY AVE STE 200
                                                                 P O BOX 1720
                                                                 GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 01/15/2021                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
